     Case 2:20-cv-00533-AB-JEM Document 66 Filed 05/04/21 Page 1 of 2 Page ID #:445



1
2
3
                                                                  JS-6
4
5
6
7
8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10
11    ARNOLD CHUN,                                  Case No.: 2:20-cv-00533-AB-JEM
12               Plaintiff,                         ORDER TO DISMISS DEFENDANT
                                                    STEWART COHEN PICTURES I,
13         v.
                                                    LTD. AND ITS COUNTER-CLAIM
14    AMERICAN AIRLINES, INC., a Texas              WITH PREJUDICE
      Corporation, Stewart Cohen Pictures DBA
15    SC Pictures, a Texas Company, and DOES
      2 through 10 inclusive,
16
                 Defendants.
17
18    STEWART COHEN PICTURES I, LTD.
      dba SC PICTURES, erroneously sued as
19    STEWART COHEN PICTURES dba SC
      PICTURES,
20
      Counter-Claimant,
21
      v.
22
      ARNOLD CHUN,
23
      Counter-Defendant.
24
25
26
27
28

       Case No.: 2:20-cv-00533-AB-JEM           1                                ORDER
     Case 2:20-cv-00533-AB-JEM Document 66 Filed 05/04/21 Page 2 of 2 Page ID #:446



1              IT IS HEREBY ORDERED that, pursuant to the parties’ Stipulation to Dismiss
2     Defendant STEWART COHEN PICTURES I, LTD. and Its Counter-Claim With
3     Prejudice, and good cause appearing, Defendant STEWART COHEN PICTURES I, LTD.
4     DBA SC PICTURES, erroneously sued as STEWART COHEN PICTURES DBA SC
5     PICTURES (“Defendant”) is hereby dismissed from this action with prejudice, and
6     Defendant’s Counter-Claim is also dismissed with prejudice.
7              Because all Defendants, Counter-Defendants, and Counter-Claims have been
8     dismissed, this matter is ORDERED closed.
9              IT IS SO ORDERED.
10
11    DATED: May 04, 2021
12                                         HON. ANDRE BIROTTE JR.

13                                         United States District Court Judge

14
15
      4819-1974-9092, v. 1
16
17
18
19
20
21
22
23
24
25
26
27
28

       Case No.: 2:20-cv-00533-AB-JEM           2                                ORDER
